Case 18-10611-]3| Doc 4 Filed 06/25/18 Entered 06/25/18 15:45:52 Page 1 of 4

Fi|l in this information to identify your case:

Debtor 1 Jeffery Nl. Zeman

Flrsl Narne Mlddle Narne l.asl Name

 

Debtor 2
(Spouse if, tlling) Flrst Name Mlddle Name Lasl Name

 

United States Bankruptcy Court for the: VVESTERN DlSTR|CT OF KENTUCK¥

 

Case number
(lfl<nown) m Ch€(;k if this iS an

amended flian

 

 

 

B 104
For lndividual Chapter 1 1 Cases: List of Creditors Who Have the 20 Largest

Unsecured Claims Against You and Are Not lnsiders 121/15

 

|f you are an individual filing for bankruptcy under Chapter11, you must fill out this form. |f you are filing under Chapter 7, Chapter 12J or
Chapter13, do not fill out this form. Do not include claims by anyone who is an insider. |nsiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. A|so, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information.

List the 20 Unsecured Claims in Order from Largest to Smal|est. Do Not include Claims by |nsiders.

Unsecured claim

 

- What is the nature of the claim? $ $0_00
3rd & Central Properties, LLC
3204 Ten Broeck Way As of the date you file, the claim is: Check all that apply
Louisville, KY 40241 l:l CO““"Q€“*
- Unliquidated
- Disputed
|:| None ofthe above apply

 

Does the creditor have a lien on your property?

 

 

 

 

 

 

 

- No
Centact l:| Ves. Tota| claim (secured and unsecured) $
Value of security: - $
Conlacl phone Unsecured claim $
- What is the nature of the claim? $ $447,352_(}0
3RD & Central Properties, LLC_
3204 Ten Brock Way As of the date you file, the claim is: Check all that apply
Louisville, Kv 40241 |Il C°"“"Q@"i
|:| Un|iquidated
l:| Disputed
l None of the above apply
Does the creditor have a lien on your property?
- No
Comact l:| Yes. Total claim (secured and unsecured] $
Value of security: - $
B104 (O'fflcial Forrn 104} FOr |ndividual Chapter 11 Cases: List of Creditors Who Have the 20 Largesl LFnsECured Claims Page 1

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Filed 06/25/18 Entered 06/25/18 15245:52

 

Page 2 014

 

 

 

 

 

 

 

Debtor 1 Jef-fery M_ Zeman Case number (."fknown)
coneciphone Unsecured claim $
3 What is the nature of the ctaim? Zeman Properties, $ $TT0.00
LLC misc. debts
Chase Card Services
p0 Box 15293 As of the date you file, the claim is: Check all that apply
Wilmingcon, DE19350 m CO"t'"Qe"t
|:l Unliquidated
|:| Disputed
- None of the above apply
Does the creditor have a lien on your property?
- No
contact l:l Yes. Tota| claim (secured and unsecured) $
Value of Security: - $
contact phone Unsecured claim $
What is the nature of the claim? Persorlal Guaranty $ $68,613.25

Edmonton State Bank
909 West Main Street
Glasgow, K‘( 42141

 

 

Contact

 

Contact phone

Fran k|in Eateries, lnc

 

As of the date you fi|e, the claim is: Check all that apply
l Contingent

|:| Unliquidated
[| Disputed
|:] None of the above apply

Does the creditor have a lien on your property?
- No
|:| Yes. Tota| claim (secured and unsecured}

$
Value of security: - $
Unsecured claim $

 

Franklin Bank & Trust
PO Box 449
Frank|in, K¥ 42135

 

 

Contact

 

Contact phone

What is the nature of the claim? Persona| Guaranty
Zeman Properties,

LLC

$ $368,474.42

 

As of the date you file, the claim is: Check all that appr
. Contingent

|:| Unliquidated
|:| Disputed
L__l None of the above apply

Does the creditor have a lien on your property?

- No
|;| Yes. Total claim (secured and unsecured} $

Value of security: _
Unsecured claim

EB£B

 

. Hankcock Bank & Trust

Company
2501 Crossings B|vd.
Bowling Green. KY 42104

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What is the nature of the claim?

$ $788,135.61

 

As of the date you filel the claim is: Chec§< all that apply
[:] Contingent

|:l Unliquidated

For lndividua| Chapter 11 Cases: List of Crec|itors Who Have the 20 Largest Unsecured Claims

Page 2

Best Case Bankruptcy

CaS€ 18-10611-]&| DOC 4

Debtor 1 Jeffery M. Zeman

 

 

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Filed 06/25/18 Entei’ed 06/25/18 15245:52 Page 3 014

Case number (i'fknown)

 

['_'| Disputed
- None of the above apply

Does the creditor have a lien on your property?
- No

|:| ¥es. Total claim (secured and unsecured)

$
Value of security: - $
Unsecured claim $

 

7
- Hankcock Bank & Trust

Company
2501 Crossings B|vd.
Bowling Green, KY 42104

 

 

Conlacl

 

Contact phone

What is the nature of the claim?

$ $747,393.46

 

As of the date you file, the claim is: Check all that apply
[:| Contingent

[:| Un|iquidated
|:| Disputed
. None ot the above apply

Does the creditor have a lien on your property?

- No

|:| ¥es. Total claim (Secured and unsecured) $
Value of security: - $
Unsecured claim $

 

m Matt Zeman

N1402 Chrisler Rd.
Locli, W| 53555

 

 

Contact

 

Ccntaci phone

What is the nature of the claim? Money loaned

$ $145,889.00

 

As of the date you fi|e, the claim is: Checl< all that apply
|:| Contingent

|:l Unliquiciated
|:| Disputed
- None of the above apply

Does the creditor have a lien on your property?

- No
|'_'| Yes. Total claim (secured and unsecured) $

Value of security: -
Unsecured claim

EHM

 

TimePayment Corp.
10Nl Commerce Way
Woburn, MA 01801

 

 

Contact

 

Contact phone

What is the nature of the claim? Kegerator for Frarikiin

Eateries, |nc.

$ $798.00

 

As of the date you fileJ the claim is: Check all that apply
|:| Contingent

|:l Un|iquidated
|:| Disputed
l None ofthe above apply

Does the creditor have a lien on your property?

l No

|:| Yes. Total claim (secured and unsecured) $
Value of security: - $
Unsecured claim $

 

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For individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims

Page 3

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Debtor 1 Jeffery M. Zeman

 

 

 

Filed 06/25/18 Entei’ed 06/25/18 15245:52 Page 4 014

Case number (."f known)

 

 

 

 

 

 

 

n What is the nature of the claim? $ $2,000_[)0
USAA Savings Bank
p_O_ Box 33009 As of the date you fi|e, the claim is: Check all that apply
San Antonio, TX 78265 g C°"t'"gent
|:| Unliquidated
[:| Disputed
- None of the above apply
Does the creditor have a lien on your property?
- No
contact |:| Yes. Total claim (secured and unsecured) $
Value of security: $
Contact phone Unsecured claim $
sign saw
Under penalty of perjury, l declare that the information provided in this form is true and correct.
X isi' Jeffery M. Zeman<%/_ X
Jeffery M. Zeman / c l \-/ Signature of Debtor 2
Signature of Debtor 1
Dat€ June 25, 2018 Date
B104(Offtciai Form 104) For individual Chapter 11 Cases: List of Creditcrs Who Have the 20 Largest Unsecured Claims Page 4

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